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   7
   8                     UNITED STATES DISTRICT COURT
   9
                       SOUTHERN DISTRICT OF CALIFORNIA
  10
     HALEY MARTINEZ and MATTHEW                  Case No. 3:20cv1946-LAB-WVG
  11 SHERIDAN, on behalf of
  12 themselves and all others similarly         ORDER GRANTING MOTIONS TO
     situated,                                   CONSOLIDATE CASES, SETTING
  13                                             SCHEDULE, AND DIRECTING
  14                                             PLAINTIFFS TO DESIGNATE
                                 Plaintiffs,     INTERIM LIAISON COUNSEL
  15 v.
                                                 [Dkt. 26]
  16
       UNIVERSITY OF SAN DIEGO,
  17
  18                           Defendant.
  19
     CATHERINE HOLDEN, on behalf of              Case No. 20cv2169-LAB-WVG
  20 herself and all others similarly
     situated,                                   [Dkt. 15]
  21
  22                              Plaintiff,
  23 v.
  24 UNIVERSITY OF SAN DIEGO,
  25
                              Defendant.
  26
  27 [Caption continued on following page.]
  28                                       -1-                 3:20cv1946-LAB-WVG
                                                               3:20cv2169-LAB-WVG
                                                               3:20cv2215-LAB-WVG
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   1 EDGAR CHAVARRIA, on behalf of                      Case No. 3:20cv2215-LAB-WVG
     himself and all others similarly
   2 situated,                                          [Dkt. 14]
   3                                     Plaintiff,
       v.
   4
   5 UNIVERSITY OF SAN DIEGO,
   6                                  Defendant.
   7
   8
   9
  10           Plaintiffs filed a Motion to Consolidate Cases and Set Briefing
  11 Schedule for Motion to Dismiss in each of the above-captioned actions (the
  12 “Motions”). Defendant University of San Diego subsequently filed Notices of
  13 Non-Opposition to the Motions. Plaintiffs’ Motions are each GRANTED.
  14           1.    The Court finds that the following putative class actions are
  15 related as they arise from the same set of facts and substantially-similar legal
  16 theories and seek to represent overlapping classes of University of San
  17 Diego students who paid tuition and/or fees for any semester during which
  18 USD conducted typically in-person activities online in connection with the
  19 COVID-19 pandemic (“University of San Diego Tuition and Fees COVID-19
  20 Refund Litigation”):
  21
  22        Abbreviated Case Name               Case Number             Date Filed
  23        Martinez v. University of       20cv1946-LAB-WVG        October 1, 2021
            San Diego
  24
            Holden v. University of         20cv2169-LAB-WVG        November 5, 2021
  25        San Diego
  26        Chavarria v. University of      20cv2215-LAB-WVG        November 13, 2021
            San Diego
  27
  28                                              -2-                 3:20cv1946-LAB-WVG
                                                                      3:20cv2169-LAB-WVG
                                                                      3:20cv2215-LAB-WVG
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   1        2.    The above-referenced actions are consolidated for all purposes,
   2 subject to the terms of this Order.
   3        3.    The caption of the consolidated action will be In re University of
   4 San Diego Tuition and Fees COVID-19 Refund Litigation, and the files of the
   5 consolidated action will be maintained in one file bearing the low-numbered
   6 case number, Master File No. 20cv1946-LAB-WVG. Any other University of
   7 San Diego Tuition and Fees COVID-19 Refund Litigation putative class
   8 action now pending in, later filed in, or transferred to this Court arising out of
   9 or related to the same set of facts will be consolidated for all purposes if and
  10 when they are brought to the Court’s attention.
  11        4.    Every pleading filed in this consolidated action or in any separate
  12 putative class action included herein will bear the following caption:
  13
  14                      UNITED STATES DISTRICT COURT
  15                    SOUTHERN DISTRICT OF CALIFORNIA
  16    In re University of San Diego             Master File No.
  17    Tuition and Fees COVID-19                 15-cv-2106-LAB-WVG
        Refund Litigation
  18
  19    This document relates to:
  20
  21
  22        5.    When a pleading is intended to apply to all actions governed by
  23 this order, the words “All Actions” shall appear immediately after the words
  24 “This document relates to:” in the above-referenced caption. When a
  25 pleading is intended to be applicable to only some, but not all, of the
  26 consolidated actions, the docket number for each individual action to which
  27 the pleading is intended to be applicable and the abbreviated case name of
  28                                        -3-                    3:20cv1946-LAB-WVG
                                                                   3:20cv2169-LAB-WVG
                                                                   3:20cv2215-LAB-WVG
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   1 said action will appear immediately after the words “This document relates
   2 to:” in the above-referenced caption.
   3        6.    A Master Docket and a Master File are hereby established for
   4 the above consolidated proceedings, and for all other related cases filed in,
   5 or transferred to, this Court. Separate dockets will continue to be maintained
   6 for each of the individual actions hereby consolidated, and entries will be
   7 made in the docket of each individual case in accordance with the regular
   8 procedures of the clerk of this Court, except as modified by this Order.
   9        7.    Upon the filing of a pleading applicable to “All Actions,” the clerk
  10 will file that pleading in the Master File and note the filing on the Master
  11 Docket. No further copies need be filed, and no other docket entries need be
  12 made. When a pleading applicable to fewer than all of the consolidated
  13 actions is filed, the clerk will file the pleading in the Master File only but
  14 docket it on the Master Docket and the docket of each applicable action.
  15 When a putative class action that properly belongs as part of the
  16 consolidated action is filed in this Court or transferred to this Court from
  17 another court, the clerk of this Court will:
  18              (a)   Place a copy of this Order in the separate file for such
  19 action;
  20              (b)   Mail to the attorney for the plaintiff(s) in the newly-filed or
  21 transferred case a copy of this Order and direct this Order be served upon
  22 or mailed to any new defendant(s) or their counsel in the newly-filed or
  23 transferred case; and
  24              (c)   Make an appropriate entry on the Master Docket. The
  25 Court requests the assistance of counsel in bringing the filing or transfer of
  26 any case in this District which properly might be consolidated as part of In re
  27
  28                                        -4-                    3:20cv1946-LAB-WVG
                                                                   3:20cv2169-LAB-WVG
                                                                   3:20cv2215-LAB-WVG
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   1 University of San Diego Tuition and Fees COVID-19 Refund Litigation to the
   2 attention of the clerk of this Court.
   3        8.     The Court finds that appointment of liaison counsel would
   4 simplify case management and further efficient resolution of the consolidated
   5 actions. Accordingly, it directs Plaintiffs jointly to designate Interim Liaison
   6 Counsel with authority to speak for all plaintiffs in the consolidated action,
   7 until the appointment either expires or is modified by Court Order.
   8        9.     Plaintiffs’ designated Interim Liaison Counsel should have the
   9 authority to: (1) serve as the primary contact for communications between
  10 the Court and Plaintiffs’ counsel; (2) serve as the primary contact for
  11 communications between Plaintiffs and Defendant; and (3) convene
  12 meetings among Plaintiffs’ counsel. Interim Liaison Counsel will also
  13 maintain the official service list of all Plaintiffs and Plaintiffs’ counsel in the
  14 consolidated action, including their addresses, ensure that all notices,
  15 orders, and material communications are properly distributed to Plaintiffs and
  16 their counsel (to the extent not served via e-filing), and perform whatever any
  17 additional functions the Court may assign.
  18        10.    Service of all papers filed with the Court shall be accomplished
  19 by e-filing. Papers not filed with the Court may be served by: (i) e-mail;
  20 (ii) overnight mail service; or (iii) hand delivery. Plaintiffs will serve all such
  21 unfiled papers by serving Defendant’s counsel. Once Interim Liaison
  22 Counsel is designated, Defendant will serve all such unfiled papers by
  23 serving Interim Liaison Counsel. Whenever feasible, the serving party shall
  24 send courtesy copies simultaneously via e-mail in PDF format to Defendant’s
  25 counsel and/or to Liaison Counsel, as applicable.
  26        11.    This Order shall not affect Defendant’s rights to claim that a
  27 named entity is an improper party, that the Court lacks personal jurisdiction,
  28                                         -5-                    3:20cv1946-LAB-WVG
                                                                    3:20cv2169-LAB-WVG
                                                                    3:20cv2215-LAB-WVG
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   1 that Defendant has any Federal Rule of Civil Procedure 12 defense or
   2 objection, or that the claims against it should be dismissed. Defendant
   3 retains any defenses, claims, and objections to any claims, complaints,
   4 filings, or allegations made in the complaints already filed or which may be
   5 subsequently filed. Nothing in in this Order shall restrict or modify
   6 Defendant’s right to move for or request separate trials, proceedings, or
   7 determinations at any stage of this litigation.
   8        12.   The Motions are GRANTED. The April 12, 2021 hearing on the
   9 Motions is VACATED. Briefing on Defendant’s pending motions to dismiss
  10 in each of the consolidated actions is STAYED, and the hearings on those
  11 motions are VACATED.
  12        13.   Plaintiffs must file:
  13              (a)   On or before April 21, 2021, a designation of Liaison
  14                    Counsel; and
  15              (b)   On or before April 28, 2021, a consolidated complaint.
  16        14.   Defendant must file their response to the consolidated complaint
  17 no later than 21 days after that pleading is filed.
  18
  19        IT IS SO ORDERED.
  20
  21 Date: April 7, 2021                  ____________________________
                                          Hon. Larry Alan Burns
  22                                      United States District Judge
  23
  24
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  28                                       -6-                 3:20cv1946-LAB-WVG
                                                               3:20cv2169-LAB-WVG
                                                               3:20cv2215-LAB-WVG
